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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
   v.                                                :       CASE NO. 1:23-cr-229-CJN
                                                     :
TAYLOR FRANKLIN TARANTO,                             :
                                                     :
   Defendant.                                        :

    GOVERNMENT’S RESPONSE TO DEFENDANT’S SPPLEMENTAL BRIEF IN
                SUPPORT OF A MOTION TO SUPPRESS

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, submits this response to the defendant’s supplemental brief regarding his

motion to suppress evidence located during a search of the defendant’s vehicle. ECF No. 39. On

October 24, 2023, the Court conducted a suppression hearing on the defendant’s motion. ECF No.

36. During the hearing, the government presented the testimony of Federal Bureau of Investigation

Special Agent Bomb Technician Joshua Rothman and Metropolitan Police Department Officer

David Boarman and offered Government Exhibits 1-7. The defendant did not present testimony

but offered Defense Exhibits 1-7 and B-2, B-5, and B-7.

        The parties now submit post-hearing briefing to supplement the briefs submitted prior to

the hearing. The issues raised by the defendant’s post-hearing brief (ECF No. 39) appear to largely

mirror the issues raised in the pre-hearing brief. ECF No. 30. As a result, the government primarily

rests on the arguments in its pre-hearing response. ECF No. 32. However, during the hearing,

additional information was developed on two topics that the government will address in this

response. First, the actions of Special Agent Rothman and Officer Boarman were undertaken at

the direction of their superiors and based on collaboration between multiple police agencies,

including the U.S. Capitol Police, the U.S. Secret Service, the Metropolitan Police Department,
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and the Federal Bureau of Investigation. Second, the government met its burden to prove that

Officer Boarman’s partner K-9 Trek was trained, certified, and his alert was reliable.

                                    SUPPLEMENTAL FACTS

        The government incorporates by reference the facts contained in its pre-hearing response

to the defendant’s motion to suppress. ECF No. 32. The testimony elicited and exhibits received

during the suppression hearing confirmed the facts as set forth in the government’s pre-hearing

response.    ECF No. 32.        In addition, the witnesses and exhibits provided the following

supplemental facts.

        Special Agent Rothman testified that he is a bomb technician with the FBI Washington

Field Office. ECF No. 36 at 6. On June 29, 2023, he responded to Kalorama in Washington D.C.

in response to a bomb threat, id. at 11, and was specifically instructed to respond by his supervisor

Special Agent Aiden Garcia. Id. at 27. Among information that Rothman received about the bomb

threat was a bulletin from the U.S. Capitol Police admitted as Government Exhibit 1. Id. at 15.

Rothman further confirmed that since June 29, 2023, he has spoken with the investigator in this

matter, FBI Special Agent Marc Gastaldo, and confirmed that the FBI and specifically SA

Gastaldo were aware of and had viewed Government Exhibits 2 and 3 prior to the defendant’s

arrest. Id. at 21, 30.

        Upon arriving in Kalorama, Rothman proceeded to the command post, which he described

as an area a safe distance away from any hazards where decision makers meet to gather, exchange

information, and make decisions. ECF No. 36 at 36. Rothman observed officers from multiple

law enforcement agencies including the U.S. Capitol Police, the Secret Service, MPD, and FBI.

Id. at 26. Fellow bomb technicians Special Agent Epley (FBI) and Sergeant Byrd (MPD)

responded as well. Id. at 37.
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       Based on his training and experience as a bomb technician, Rothman described the process

for responding to a potential bomb threat and the procedures that are used to render the hazard

safe. First, Rothman stated that bomb technicians will attempt to use “every non-obtrusive method

possible” to assess the threat, ECF No. 36 at 60, which frequently involves assistance from a local

agency to conduct a K-9 sniff. Id. at 38. In the present case, Rothman knew that two K-9s

conducted sniffs of the defendant’s vehicle; the “bomb dog” did not alert while the “firearm dog”

did alert. Id. at 39. Rothman went on to explain that the difference between the two K-9 alerts did

not surprise him, but merely changed the way the bomb technicians were assessing the vehicle as

a threat. Id. 41. Rothman was clear that he still had safety concerns regarding the defendant’s

vehicle based on the K-9 alert by the firearm dog. Id. Rothman described the general procedure

that the bomb technicians took to clear the defendant’s vehicle of hazards which included (1) a

visual inspection of the exterior, (2) a visual inspection of the interior, and (3) the physical review

of all containers and places where a hazard could be located. Id. at 47. Rothman repeatedly

testified that his role was to clear the vehicle of hazards and to render it safe for the investigation

team. Id. at 89.

       Officer David Boarman testified that he is a police officer and K-9 handler with MPD and

has been partnered with his dog, Trek, for approximately 2 years. ECF No. 36 at 104. Boarman

stated that he and Trek have completed certification for the detection of smokeless powder, id. at

104, and that both he and Trek are tested and recertified every 6-weeks. Id. at 106. The pair has

never failed a recertification. Id. Certification records and notes were admitted as Government

Exhibit 5 and Defense Exhibit B-2.

       On June 29, 2023, Boarman and Trek were called to Kalorama and directed to conduct a

sniff of a vehicle by MPD Sgt. Jackson. Id. at 113. During the sniff, Officer Boarman walked
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Trek around the vehicle almost two times and Trek alerted for the presence of smokeless powder

twice by sitting down. Id. at 117-118. Officer Boarman provided Trek with a toy after the alert,

id. 146, which was consistent with the training and certification that both Boarman and Trek

received. Id. at 153.

                               SUPPLEMENTAL ARGUMENT

  I.   PROBABLE CAUSE EXISTED TO SEARCH THE DEFENDANT’S VEHICLE
       PRIOR TO THE K-9 SNIFF.

       Law enforcement had probable cause to search the defendant’s vehicle prior to the dog

sniff conducted by Office Boarman and K-9 Trek. Because the defendant does not raise new

arguments on this point, and because the facts as set forth above and in the government’s pre-

hearing briefing amply established probable cause prior to the dog sniffs, the government rests on

its discussion of probable cause contained in its pre-hearing briefing at ECF No. 32, Sections I and

II. If the Court agrees that law enforcement had probable cause to search the defendant’s vehicle

for evidence of a crime independent of K-9 Trek’s alert, the defendant’s remaining arguments are

rendered moot.

 II.   IN ANY EVENT, A DOG SNIFF DOES NOT CONSTITUTE A SEARCH UNDER
       THE FOURTH AMENDMENT.

       In any event, even assuming that K-9 Trek’s alert was necessary for probable cause, the

defendant’s claim fails because K-9 Trek’s sniff did not constitute a search under the Fourth

Amendment. The Supreme Court has held that a dog sniff performed on the exterior of a person’s

vehicle is not a search under the Fourth Amendment. Illinois v. Caballes, 543 U.S. 405, 409

(2005). The defendant’s supplemental brief, ECF No. 39, raises no new arguments on this issue

and cites no binding authority to the contrary. The government therefore rests on the arguments

contained in its pre-hearing briefing at ECF No. 32, Section II.A.
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III.   CONTRARY TO THE DEFENDANT’S ASSERTIONS, ROTHMAN AND
       BOARMAN ACTED PROPERLY ON DIRECTIVES FROM FBI AND U.S.
       CAPITOL POLICE.

       Investigators from U.S. Capitol Police and FBI had sufficient information to justify a

search of the defendant’s vehicle and their request for assistance to other agencies including

Metropolitan Police and the FBI Bomb Squad was proper. The defendant argues that Officer

Boarman did not receive sufficient information from MPD Sgt. Jackson to conduct a sniff on the

defendant’s vehicle. ECF No. 39 at 9. The defendant further argues that the government has not

provided enough information regarding Sgt. Jackson’s basis of knowledge to support the K-9 sniff.

Id. Even assuming arguendo that Officer Boarman needed probable cause to conduct a K-9 sniff,

the defendant’s argument focuses on the wrong officer. The relevant inquiry is not Sgt. Jackson’s

basis of knowledge, it is the Capitol Police and the FBI’s basis of knowledge that is controlling.

       In general, when law enforcement assistance between agencies is requested, assisting

officers are “entitled to presume” the requesting officer has a sufficient basis for the requested

action. Whitely v. Warden, 401 U.S. 560, 568 (1971). “Where, however, the contrary turns out to

be true, an otherwise illegal [action] cannot be insulated from challenge by the decision of the

instigating officer to rely on fellow officers. . .” Id. As this Court stated in United States v.

Williams, “[a]n officer may act on a directive or request from another officers or agency.” 507 F.

Supp. 3d 181, 197 (D.D.C. 2020) (citing United States v. Gorham, 317 F. Supp. 3d 459, 470

(D.D.C. 2018)); see also United States v. Devaugh, 422 F. Supp. 3d 104, 113 (D.D.C. 2019). In

United States v. Hensley, the Supreme Court held that police officers could rely on a bulletin

produced by other officers to arrest a criminal suspect. 469 U.S. 221, 231 (1985). The Court

explained, “when evidence is uncovered. . . in reliance merely on a flyer or bulletin, its

admissibility turns on whether the officers who issued the flyer possessed probable cause to make
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the arrest. It does not turn on whether those relying on the flyer were themselves aware of the

specific facts which led their colleagues to seek their assistance.” Id. Therefore, the operative

analysis should be focused on the bulletin issued by Capitol Police and the knowledge of the

requesting FBI investigator.

       Government’s Exhibit 1 is a bulletin issued by the Capitol Police giving an overview of

the basis for which they sought to arrest the defendant and to search his vehicle. ECF No. 36 at

15. Special Agent Rothman testified that the flyer was disseminated to law enforcement, that he

himself received it, id., and that he was told to respond to Kalorama by his supervisor Special

Agent Aiden Garcia to assist in his capacity as a Bomb Technician. Id. at 23. Special Agent

Rothman further testified that he spoke to FBI Special Agent Marc Gastaldo who is the investigator

in this matter and confirmed that Special Agent Gastaldo had observed the defendant’s livestreams

contained in Government’s Exhibits 2 and 3. Id. at 21, 30. Special Agent Rothman further testified

that multiple law enforcement agencies, including the Capitol Police, the Secret Service, MPD,

and the FBI responded to Kalorama on June 29, and that a “command post” was established so

that the decision makers could “meet and gather information to make decisions.” Id. at 36.

       As a bomb technician, Special Agent Rothman stated it was “extremely common” in his

training and experience for a local agency to assist with K-9 sniffs. ECF No. 36 at 38. This

explanation is consistent with the testimony provided by Officer David Boarman who stated that

on June 29, 2023, he too was called out to Kalorama for a K-9 sniff and directed by his supervisor

to conduct a sniff of the defendant’s vehicle. Id. at 113.

       The testimony of both Rothman and Boarman establishes two critical facts for purposes of

applying the collective knowledge doctrine in this case. First, it establishes that the Capitol Police

and the FBI had probable cause search of the defendant’s vehicle prior to the dog sniff. See ECF
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No. 32 at Section I. Second, it shows that both Rothman and Boarman properly acted on directives

from their respective commanding officers, based on that knowledge, to conduct a K-9 sniff and

to clear the vehicle of hazards. Therefore, the actions of both Rothman and Boarman were properly

supported by the probable cause developed by the Capitol Police and the FBI.1

IV.    K-9 TREK’S SNIFF WAS RELIABLE.

       To the extent the Court finds that the K-9 sniff was necessary to establish probable cause

to search the defendant’s vehicle, the government has met its burden to establish that K-9 Trek’s

alert on the defendant’s vehicle was reliable. In Florida v. Harris, the Supreme Court provided a

framework to establish the reliability of a K-9 sniff. Specifically, the Court found that the

government ordinarily meets its burden in showing a dog is reliable if the dog is properly certified.

“A dog’s satisfactory performance in a certification or training program can itself provide

sufficient reason to trust his alert.” Florida v. Harris, 568 U.S. 237, 246-47 (2013). If a canine

officer is so certified, it is incumbent upon the defense to come forward with evidence—either “by

cross-examining the testifying officer or by introducing his own fact or expert witness”—

disproving “the adequacy of a certification or training program,” “perhaps [by] asserting that its

standards are too lax, or its methods faulty.” Id. at 247.

       In this case, the defendant did not call any witnesses. He did not proffer any evidence,

whether expert or otherwise, regarding the soundness of the certification program, the re-

certification training, or the training methodology of Boarman and K-9 Trek. The defendant now

attempts to attack Trek’s reliability for two reasons (1) that Trek receives a reward when he gives




1
 As discussed in the Government’s prehearing briefing, Officer Boarman did not need probable
cause to conduct a K-9 sniff on the defendant’s vehicle. Regardless, Officer’s Boarman’s actions
were supported by the facts known to the U.S. Capitol Police and FBI at the time, which
constituted probable cause.
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a positive alert and (2) that, in the defense’s view, Officer Boarman improperly “cued” Trek when

he ordered Trek to detail the vehicle a second time and inadvertently brushed against the vehicle

with Trek’s leash. ECF No. 39 at 13.

       As to the defendant’s first argument regarding the reward, the defendant has not provided

any support for the assertion that providing a reward after his positive alert in this case tends to

show that Trek was unreliable. In fact, Officer Boarman explained that he and Trek were trained

using the reward system, and that in providing Trek with a toy after a positive alert in the field, he

was following the applicable protocols. ECF No. 36 at 153-155. Officer Boarman further

explained that he and Trek are both retrained and certified every six weeks in a controlled

environment to ensure that Trek is properly alerting and receiving rewards accordingly, and that

Trek’s work in the field (and related rewards) do not result in mis-training. Id. at 148-149. The

reasons behind this methodology are not at issue. The defendant provided no evidence or

testimony to dispute that the methodology of training a dog to alert by using a toy is improper or

unreliable.

       As to the defendant’s second argument regarding “cueing,” the record does not reflect that

Officer Boarman cued Trek to give a positive alert. The defendant argues that because Trek was

walked around the vehicle a second time, the Court must necessarily infer that Trek was cued to

alert. However, this ignores Officer Boarman’s testimony on this point. First, Officer Boarman

explained why he walked Trek around the vehicle a second time – it was because Trek was excited

after being let out the squad car and was not properly detailing the vehicle. ECF No. 36 at 116;

see also id. at 138 (“Q. Why did you decide to run him again? A. Because he was not detailing

the seams on the first go-around. He was not focused.”). Second, Officer Boarman did not adopt

the defense’s suggestion that directing a dog to re-search an area is, without more, considered
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cueing. To the contrary, in fact Officer Boarman specifically stated there are circumstances in

which he will affirmatively have Trek re-search an area. Id. at 143.               Officer Boarman

unequivocally testified that if Trek does not give a positive alert on a van, he would not continue

to walk Trek around the van. Id. When asked by defense counsel if it were theoretically possible

for a dog to be cued by telling the dog to re-search an area Officer Boarman responds, “I’m sure

you could.” Id. at 143. But the fact that directing a dog to “search something again” could, in

some unspecified circumstances, possibly result in “cu[ing]” does not suggest that, in the

circumstances presented here, Officer Boarman improperly cued Trek to alert. As noted, Officer

Boarman directed Trek to detail the defendant’s vehicle a second time after—and because—Trek

was unfocused the first time around.

       The government has met its burden to establish Trek’s reliability. During the hearing,

Officer Boarman testified that he and Trek had been partnered for approximately two years, that

both he and Trek completed an 8-week initial certification program, that they are recertified every

6-weeks, that they have never failed a recertification, and that Trek is trained to detect the odor of

smokeless powder. ECF No. 36 at 104-106. Government Exhibit 5 and Defense Exhibit B-2

contain certification and training information for Officer Boarman and Trek. Under the framework

established by Harris, Trek’s alert is reliable. Though Trek’s alert was not necessary to establish

probable cause, it nevertheless provided additional probable cause for Special Agent Bomb

Technician Rothman to enter the vehicle and clear it of hazards.

                                          CONCLUSION

       For the foregoing reasons, and for the reasons set forth in the government’s pre-hearing

briefing, the defendant’s motion to suppress should be denied.
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                            Respectfully submitted,

                            MATTHEW M. GRAVES
                            UNITED STATES ATTORNEY
                            D.C. Bar No. 481052

                      By:   /s/ Allison K. Ethen
                            Colin Cloherty
                            D.C. Bar No. 1048977
                            Allison K. Ethen
                            MN Bar No. 0395353
                            Assistant United States Attorneys
                            601 D Street NW, Fifth Floor
                            Washington, D.C. 20530
                            E-mail: Colin.Cloherty@usdoj.gov
                            Telephone: (202) 815-8979
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel this 4th of December 2023.
                                                /s/ Colin Cloherty
                                               Colin Cloherty
                                               Assistant United States Attorney
